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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM"

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL. 2179 _— _ SECTION: J

FASTLERCOM

By submitting this document, ! am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No, 10-2771; adopt and incorporate the Master Answer (Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2173); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries ("“B3 Bundle”)
filed in MDL No. 2479 (10 md 2179).
z=
: Last Name First Name Middle Name/Maiden Suffix
White Herman James Jr.
Phone Number 594-458-9664 . E-Mail Address
ty /
Address 2417 Cascade Dr. City/State/Zip Marrero, LA 70072
- )
INDIVIDUAL CLAIM 4 | BUSINESS CLAIM LO
Employer Name — Global Employment Services Business Name
| Job Titie / Deseription Oil Cleanup/Equipment Type of Business |
_ ACHES 4703 Old Mobile Hwy Address
|
vity / State/ Zip Pascagoula, MS 39567 City / State / Zip
_ Last 4 digits of your Social Security Number 0327 - Last 4 digits of your Tax ID Number
om i
AttomeyName oorrence J. Lestelle | FirmName Leste\le & Lestelle, APLC
Address 3421 WN. Causeway Blyvd., Suite 602 City / State / Zip Metairie, LA 70002
a Number 504-828-1224 E-MailAddress  jes-slle@lestellelaw.com
OAT
Claim filed with BP? ves NO Claim Filed with GCCF?, YES [[] NO
If yes, BP Claim No.: If yes, Claimant Identification No.:
eae eS
Claim Type (Please check all that apply):
O Damage or destruction to real or personal property bs Fear of Future Injury and/or Medical Monitoring
C Earnings/Profit Loss Loss of Subsistence use of Natura! Resources
kd Personal Injury/Death oO Removal and/or clean-up costs |
Lo __ . _ _ . OD Other:

' This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec, Doe, 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179). the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court af the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison,

1

The filing of this Direct Filing Short Form shalt also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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| Brief Description:

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| 1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. Fer claims
involving real estate/property, include the property iocation, type of property (residential/commercial}, and whether physical |
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

2. Fer personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and '
employers 2008 to present and complete authorization forms for each.

Claimaint was exposed to chemicals including but not limited to dispersant, cil, and decontamination chemicals and |

has developed headaches, breathing difficulty and respiratory symptoms, and sore throat symptoms among other |

symptoms which are causally related to claimant's exposure. Claimant has not been treated by health care providers during

the applicable time period. Claimant recalls being employed by DRC and Global Employment Services, his employers for the

BP Oil Spill work, as well as A& B Valve and Piping in Harvey, Louisiana.

| 3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
. employer, and where you were working

Claimant worked for DRC and Global Employment Services as an equipment coordinator and oil cleanup worker. Claimant

|
| performed his duties aboard vessels in the navigable waters of the Gulf of Mexico Lafitte, Louisiana.

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Please check the box(es) below that you think apply to you and your claims: - |
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

OO 1. Commercial fisherman, shrimper, crabber, or oysterman, or the awner and operator of a business involving fishing, shrimping,
crabbing or oystering.

D7 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business whe earn their living through the use of the Gulf of Mexico.

4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof,

O

O

CL] 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater

L] 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.
O

7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

O 8. Hotel owner and operatoy, vacation rental owner and agent, or all those who earn their living from the tourism industry.
CJ 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.
C] 10. Person who utilizes natural resources for subsistence

O11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3}

il f. Boat captain or crew involved in the Vessels of Opportunity program.

O 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants,

O 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but whe were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

kl 4. Clean-up worker or beach personne! involved in clean-up activities along shorelines and intercoastal and intertida! zones.

[J 5. Resident who lives or works in close proximity to coastal waters.

D6. Other:

Both BP and the Gulf Coast Claims Facility (“GCCF”} are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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Claimant or Attorney Signature

woe
Print Name

Date

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The filing of this Direct Filing Short Form shalt also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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